                             IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE AT GREENEVILLE

         CRIMINAL MINUTES: INITIAL APPEARANCE on Pretrial Revocation Petition/Rev Hrg.

USA vs    COREY MICHAEL SHOCKLEY                          Date:    July 8, 2020

           Case No. 2:20-CR-24              Time     1:59-2:33/2:42-2:50 P.M.

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         Honorable CYNTHIA RICHARDSON WYRICK, U.S. Magistrate Judge, Presiding

  KIM OTTINGER                                 DCR                         CHRISTIAN LAMPE
   Deputy Clerk                           Tape/Court Reporter                 Asst. U.S. Attorney

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   DEFENDANT(s)                            DEFENSE ATTORNEY(s)

COREY MICHAEL SHOCKLEY                                          KAYCEE ROBERTS


PROCEEDINGS:

Defendant sworn

Defendant advised of charges, penalties and rights

Revocation hearing requested

Witness sworn (Shauna McCullough-Walker, USPO)

Oral motion by counsel for defendant to continue-GRANTED

Bond revocation hearing continued until    7/13/20 @ 2:00 p.m.

Defendant remanded to custody of US Marshal pending bond revocation hearing




I, Kim Ottinger, Deputy Clerk, CERTIFY the official record of this proceeding is an audio file. Grn-DCR_2-20-

CR-24_20200708_132424




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